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JoHNsoN GREYBUFFALo, ) §§ng §§ wi~`j§:§;§ju§
Plaimiff i
v. § NO.: l: 99-1289 Bre-P
CORRECTIONS CORPORA'I`ION OF §
AMERICA, et al., )
Defendants §
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

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JUDGE
DATED: Ll/ {QQI/GJ"

IT IS SO ORDERED.

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

st€nadm@.>d/aM

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Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
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Honorable J. Breen
US DISTRICT COURT

